Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 1 of 60 Page ID
                                 #:10929




                   EXHIBIT U
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 2 of 60 Page ID
                                 #:10930
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 3 of 60 Page ID
                                 #:10931
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 4 of 60 Page ID
                                 #:10932
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 5 of 60 Page ID
                                 #:10933
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 6 of 60 Page ID
                                 #:10934
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 7 of 60 Page ID
                                 #:10935
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 8 of 60 Page ID
                                 #:10936
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 9 of 60 Page ID
                                 #:10937
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 10 of 60 Page ID
                                  #:10938
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 11 of 60 Page ID
                                  #:10939
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 12 of 60 Page ID
                                  #:10940
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 13 of 60 Page ID
                                  #:10941
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 14 of 60 Page ID
                                  #:10942
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 15 of 60 Page ID
                                  #:10943
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 16 of 60 Page ID
                                  #:10944
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 17 of 60 Page ID
                                  #:10945
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 18 of 60 Page ID
                                  #:10946
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 19 of 60 Page ID
                                  #:10947
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 20 of 60 Page ID
                                  #:10948
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 21 of 60 Page ID
                                  #:10949
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 22 of 60 Page ID
                                  #:10950
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 23 of 60 Page ID
                                  #:10951
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 24 of 60 Page ID
                                  #:10952
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 25 of 60 Page ID
                                  #:10953
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 26 of 60 Page ID
                                  #:10954
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 27 of 60 Page ID
                                  #:10955
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 28 of 60 Page ID
                                  #:10956
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 29 of 60 Page ID
                                  #:10957
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 30 of 60 Page ID
                                  #:10958
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 31 of 60 Page ID
                                  #:10959
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 32 of 60 Page ID
                                  #:10960
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 33 of 60 Page ID
                                  #:10961
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 34 of 60 Page ID
                                  #:10962
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 35 of 60 Page ID
                                  #:10963
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 36 of 60 Page ID
                                  #:10964
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 37 of 60 Page ID
                                  #:10965
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 38 of 60 Page ID
                                  #:10966
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 39 of 60 Page ID
                                  #:10967
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 40 of 60 Page ID
                                  #:10968
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 41 of 60 Page ID
                                  #:10969
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 42 of 60 Page ID
                                  #:10970
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 43 of 60 Page ID
                                  #:10971
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 44 of 60 Page ID
                                  #:10972
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 45 of 60 Page ID
                                  #:10973
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 46 of 60 Page ID
                                  #:10974
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 47 of 60 Page ID
                                  #:10975
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 48 of 60 Page ID
                                  #:10976
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 49 of 60 Page ID
                                  #:10977
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 50 of 60 Page ID
                                  #:10978
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 51 of 60 Page ID
                                  #:10979
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 52 of 60 Page ID
                                  #:10980
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 53 of 60 Page ID
                                  #:10981
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 54 of 60 Page ID
                                  #:10982
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 55 of 60 Page ID
                                  #:10983
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 56 of 60 Page ID
                                  #:10984
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 57 of 60 Page ID
                                  #:10985
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 58 of 60 Page ID
                                  #:10986
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 59 of 60 Page ID
                                  #:10987
Case 2:15-cv-06633-CAS-SS Document 409-27 Filed 04/10/19 Page 60 of 60 Page ID
                                  #:10988
